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                                           IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF SOUTH CAROLINA

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                                                                                                         Civil Action No. _ _ _ _ _.. _ _ _ __
[Enter thefoll name ofthe plaintifJin this action]                                                  )                           (to be assigned by Clerk)
                                                                                                    )                                        r.:::
                                                                                                    )                COMPLAINT               en
                                                                                                                                             C/
v.                                                                                                  )                 State Prisoner ~        c-   ")




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                                                                                                    )                                              ("')

Enter above the full name ofdefendant(s) in this action                                             )


1.     PREVIOUS LAWSUITS

       A. Have you begun other lawsuits in state or federal court dealing with the same facts involved in this action or
          otherwise related to your imprisonment?                             Yes                        No      V
       B.    If your answer to A is Yes, describe the lawsuit in the space below. If there is more than one lawsuit, describe the
             additional lawsuits on another piece of paper using the same outl ine.

             1.       Parties to this previous lawsuit:

                      Plaintiff:M,t.rt.tel «UuJO
                      D,fendon~,), ~ .0.:;, f.&X1Xl(\ ~eVI wfJe:( I f2m}f1lj,j, AJar'J ,Wira:dx{[3' MY'lt
                                                                        I

             2. Court:       ~lhrclm)        ~Y;;ddtiJ
                                (lffoderal court, name the district; if state court, name the county)
                                                                                                                                                            .
             3. Docket Number:

             4. Name(s) of Judge(s) to whom case was assigned:

             5. Disposition:
                                           (For example, was the case dismissed? Appealed? Pending?)

             6. Approximate date of filing lawsuit:

             7. Approximate date of disposition:




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II.   PLACE OF PRESENT CONFINEMENT

      A. Name of Prison/Jail/Institution:

      B. What are the issues that you are attempting to litigate in the above-captioned case?     de50JYYrtJDn c§f
      C. (1)     Is there a prisoner grievance procedure in this institution?     Yes___ ~

           (2)   Did you file a grievance concerning the claims you are raising in this matter?    Yes_ __

                                                              Grievance Number (if available) _ _ _ _ _ _ _ _ _ _ __

      D. Have you received a final agency/departmental/institutional answer or determination concerning this matter (i.e., your
         grievance)?           Yes              No';

      E.   When was the final agency/departmental/institutional answer or determination received by you?   _-'-'-~ _ _ _ __


           Ifpossible, please attach a copy ofyour grievance and a copy ofthe highest level decision concerning your grievance
           that you have received

      F.   If there is no prison grievance procedures in this institution,
           did you complain to prison, jail, or institutional authorities?        Yes   v         No_ __

      G. If your answer is YES:

           1.    What steps did you take?.:r   toL\ fY\.l{ ~\!) ~ Ceel t -f£g, jY\\
           2.    What was the result?    NoI-h\f\~ C}Drif-

III. PARTIES

      In Item A below, place your name, inmate number, and address in the space provided Do the same for additional plaintiffs,
      ifany.

      A. Name of Plaintiff:     Mlcrue\ 1- ~IU\O                                              Inmate

           Address:     'hIiCeL.{ ]tte. 13rclc} .L n
           In Item B below, place the full name ofthe defendant, his official position, and place ofemployment in the space
           provided Use Item C for additional defendants, ifany.

      B. Name of Defendant:          ~ he4dedon ~ 1}:}IrWCO ~osition: _tareebcx cd [)t~r'~er
           Place of Employment:      ,:315L.f I Lced:'J Aue.
      C. Additional Defendants (provide the same information for each defendant as listed in Item B above):

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IV.   STATEMENT OF CLAIM

      State here, as briefly as possible, the facts ofyour case. Describe how each defendant is involved Include also the
      names ofother persons involved, dates, and places. Do not give any legal arguments or cite any cases or statutes.
      Ifyou intend to allege a number ofrelated claims, number and set forth each claim in a separate paragraph. Use as
      much space as you need A ttach an extra sheet if necessary.




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V.   RELIEF

     State briefly and exactly what you want the court to do for you.

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        =~~ emt:>b~ees ·to hJcdle ±fus ro::mot: s:.




     I declare under penalty of perjury that the foregoing is true and correct.


     Signed this -=----"-"'-_ _ _ _ day      ~~~---------------~20                                   lOt. .




                                                           Signature ofPlaintiff




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